   Case 18-11335                Doc 27          Filed 08/09/18 Entered 08/09/18 20:45:21                                    Desc Main
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